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14                               UNITED STATES DISTRICT COURT
15                              NORTHERN DISTRICT OF CALIFORNIA
16
17    IN RE: ROUNDUP PRODUCTS LIABILITY            MDL No. 2741
      LITIGATION
18                                                 Case No. 16-md-02741-VC
19    This document relates to:
      Dickey v. Monsanto Co., 3:16-cv-04102-VC      PLAINTIFF’S RESPONSE TO
      Domina v. Monsanto Co., 3:16-cv-05887-VC      MOTION TO EXCLUDE
20                                                  TESTIMONY OF DR. WILLIAM
      Giglio v. Monsanto Co., 3:16-cv-05658-VC
      Harris v. Monsanto Co., 3:17-cv-03199-VC      SAWYER ON DAUBERT
21                                                  GROUNDS
      I. Hernandez v. Monsanto, 3:16-cv-05750-VC
22    Janzen v. Monsanto Co., 3:19-cv-04103-VC
      Mendoza v. Monsanto Co., 3:19-cv-06046-VC
23    Perkins v. Monsanto Co., 3:16-cv-06025-VC
      Pollard v. Monsanto Co., 3:19-cv-04100-VC
24    Russo v. Monsanto Co., 3:16-cv-06024-VC
      Sanders v. Monsanto Co., 3:16-cv-05752-VC
25    Tanner v. Monsanto Co., 3:19-cv-04099-VC
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27
          PLAINTIFF’S RESPONSE TO MOTION TO EXCLUDE TESTIMONY OF DR.
28                    WILLIAM SAWYER ON DAUBERT GROUNDS

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 1   I. Introduction
 2          William Sawyer, Ph.D. “is a highly qualified toxicologist - currently chief toxicologist of
 3   Toxicology Consultants and Assessment in New York. He is Board Certified in forensic medicine,
 4   toxicology and pharmacology and is well published.” Fleming v. Nicholls-Wilcox, Inc., No. 02-1-
 5   7632-42, 2005 WL 5419258 (Ga. Super., May 10, 2005). Dr. Sawyer has more than 28 years of
 6   experience in public health and forensic toxicology including five years of governmental service.
 7   See Dr. Sawyer Affidavit ant CV (Sawyer Aff.) (Travers Decl., Ex. 1). He has a Ph.D. in toxicology
 8   and a Master’s degree in cellular and molecular biology and has consulted for numerous
 9   governmental agencies including “the United States Attorney’s Office, US Navy, various
10   prosecutors, Attorney State General of Montana, New York, New Jersey and other states.” See
11   Johnson v. Monsanto Trial Transcript (“Johnson Tr.”) at 3586-3588. (Travers Decl., Ex. 2) In
12   fact, Dr. Sawyer has previously served as an expert witness for law firms representing Monsanto.
13   Pilliod v. Monsanto Trial Transcript (“Pilliod Tr.”) at 3079:7-3080:19 (Travers Decl., Ex. 3).
14          To date, Dr. Sawyer has given many dozens of hours of testimony in the Roundup®
15   litigation through over 15 days of deposition and two days of testimony in the Johnson and Pilliod
16   trials. He has spent hundreds of hours reviewing published studies, medical records and internal
17   documents written by Monsanto scientists. Monsanto has repeatedly tried and failed to exclude or
18   strike Dr. Sawyer’s opinions. See Pilliod v Monsanto Co., 2019 WL 2158266 (Cal.Super. Mar. 18,
19   2019); Johnson v Monsanto Co., 2018 WL 2324413 (Cal.Super. May 17, 2018) (denying pre-trial
20   preclusion); Johnson v Monsanto Co., 2018 WL 5246323 (Cal.Super. Oct. 22, 2018) (denying
21   Monsanto’s post-trial motion to set aside the verdict).
22          Dr. Sawyer’s core role at trial is to explain how Roundup® travels from the bottle to the
23   bones of Roundup users. Pilliod Tr. at 3183:15-3184:3 (Travers Decl., Ex. 3) (“The bone is a
24   preferential point of distribution... That's where the [lymphoma] malignancy starts.”). In
25   toxicological terminology, this area of study is called Absorption, Distribution, Metabolism,
26   Excretion (“ADME”). (Hernandez Report, 23, 55-122) (Travers Decl., Ex. 4); see also 1/13/2011
27   Monsanto Email (“Our glyphosate rat ADME study also shows that levels in bone are significantly
28   higher than those in any other tissue/organ.”) (Travers Decl., Ex. 5). Dr. Sawyer will offer

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 1   testimony as to the effect of various types of clothing, protective gear and equipment on increasing
 2   or decreasing exposure to Roundup®; and how the instructions on the Roundup® label affect the
 3   exposure of Plaintiffs. Hernandez Rep. at 17-25 (Travers Decl. Ex. 4). Dr. Sawyer will testify
 4   as to the mechanism of carcinogenicity including the relative genotoxicity and promotion activity
 5   of both glyphosate and the formulated product (including adjuvants and impurities). Id. at 29-48.
 6   Dr. Sawyer will be offering these general opinions in all Wave I cases. Monsanto does not argue
 7   that Dr. Sawyer is unqualified to offer the aforementioned opinions, nor does Monsanto argue that
 8   these opinions are unreliable or irrelevant.
 9          As noted in Plaintiffs’ Expert Designations, Dr. Sawyer is being offered (in all cases) to:
10          ...testify on issues concerning the mechanism of absorption of glyphosate-based
            formulations through the skin and other exposure pathways, the role of surfactants on
11          dermal absorption, toxicology and animal studies on dermal absorption, including his
            analysis of the data and the interpretation and methodology related to that data; human
12          exposure studies and data relating to glyphosate-based formulations, and the effect of
            wearing personal protective equipment on the exposure levels.
13
14   See e.g. Giglio Designation (Travers Decl., Ex. 6).
15        Dr. Sawyer is offering case specific opinions to varying degrees with respect to the Wave I
16   plaintiffs.1 For most Plaintiffs, Dr. Sawyer is being offered to “testify regarding Plaintiff’s total
17   exposure to Roundup, including the comparability of Plaintiff’s exposure with the exposure data
18   from applicators in studies on glyphosate-based formulations.”2 Id. For those opinions, he relies
19   either on the exposure calculations of other experts or his own calculations. The calculations of
20   Roundup® exposure he relies on allows Dr. Sawyer to compare the specific Plaintiff’s days of
21   Roundup® use to the epidemiological data showing an increased risk of Non-Hodgkin Lymphoma
22   (NHL). In re Roundup Products Liability Litgation (N.D. Cal., July 12, 2019, No. 16-CV-0525-
23   VC) 2019 WL 3219360, at *1 (Dr. Weisenburger’s testimony admissible where he testified that
24   Hardeman’s “...exposure levels still far exceeded the threshold used in most of the epidemiological
25
     1
26     Dr. Sawyer’s opinions regarding Elaine Stevick have previously been briefed and Monsanto
     does not address those issues in their current challenge to the Wave I Plaintiffs.
27   2
       Dr. Sawyer is not offering case specific opinions for Perkins or Harris. For Ines Hernandez’s
     he is offering limited case specific opinions regarding “specific exposures, PPE, equipment,
28
     mixing and dermal exposures.” Sawyer Aff. at ¶ 37 (Travers Decl., Ex. 1)


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 1   literature, and specifically the McDuffie and Eriksson studies.”). Dr. Sawyer also explains how
 2   each Plaintiff is exposed to Roundup based on the manner in which they spray and the personal
 3   protective gear they wear. See Hernandez Dep. at 27:4-23 (Defendant’s Travers Decl., Ex. 8).
 4          Monsanto’s motion is focused almost entirely on opinions that Dr. Sawyer will not be
 5   offering. Dr. Sawyer is not being offered as a general causation expert on epidemiology, nor is
 6   Dr. Sawyer being offered to conduct a full differential etiology. Where he does provide case-
 7   specific opinions3, he does so based primarily on the above exposure metric calculations and will
 8   offer the opinion that the Plaintiffs’ exposure to Roundup® was sufficient to cause NHL. See
 9   Pilliod Tr. at 3241:16-20 (Travers Decl., Ex. 3) (“...I compared their days of exposure to those
10   three studies to determine whether they were in reasonable range -- of those who were studied in
11   the human epidemiology database that showed an increased risk of non-Hodgkin's lymphoma.”).
12          Monsanto makes absurd contentions that Dr. Sawyer did not analyze genotoxicity studies
13   of Roundup or consider any aspects of animal or cell studies for purposes of determining general
14   causation. MTE Sawyer pp. 1, 9. Monsanto either does not cite to the record for these fabrications
15   (p. 9) or completely misleads the Court as to what the citation represents (p. 1). For example,
16   Monsanto cites the Giglio deposition (Travers Decl. Ex. 9 at 168:24-170:8) for the false assertion
17   that Dr. Sawyer didn’t consider animal and mechanistic studies for causation purposes. However,
18   Dr. Sawyer, makes clear that he considers such data as “a prong of Bradford Hill. It's called
19   experimental data. It is one of the many prongs of Bradford Hill, but it is not in itself a standalone
20   means of determining causation.”4 Id.; Hernadez Rep. at 11 (Travers Decl. Ex. 4); In re Roundup
21   Products Liability Litigation (N.D. Cal. 2018) 390 F.Supp.3d 1102, 1127 (animal and mechanistic
22
     3
23     Plaintiffs will not be eliciting an opinion from Dr. Sawyer at trial that the exposure of Plaintiffs
     to Roundup was a substantial contributing factor to his/her NHL diagnosis.
24   4
       What Dr. Sawyer is actually explaining in the testimony cited by Monsanto is that it is not
     appropriate to calculate a human’s risk of cancer through software that extrapolates from doses
25
     in rodent studies for purposes of causation. Id. Dr. Sawyer clarified earlier in the deposition that
26   defense counsel was referring to “an animal-derived cancer slope, which you and I both know
     can't be used in -- in a human cancer assessment. That was even ruled upon in the Johnson case.”
27   Giglio Dep. at 43:8-14; Johnson v. Monsanto Co., 2018 WL 2324413, at *15 (Cal.Super.)
     (Monsanto argued and Dr. Sawyer agreed that “Cancer slope factors should not be applied to
28
     reach a causation conclusion in an individual case.”);


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 1   data are relevant to “the biological plausibility criterion that is part of the Bradford Hill analysis.”).
 2   Dr. Sawyer specifically states in his report that “[g]enotoxicity is the ability of a chemical to cause
 3   damage to genetic information, i.e., the DNA in cells, thereby causing genetic mutations that may
 4   lead to cancer” and proceeds to analyze the genotoxicity data for purposes of causation. Hernandez
 5   Rep. 37-48; see also Sawyer Aff. 40-42. Dr. Sawyer also has conducted a detailed assessment of
 6   the animal carcinogenicity data, but that opinion is not being offered in the Wave I cases as Dr.
 7   Jameson and Dr. Portier will be providing that testimony. See Johnson Rep. at 91-120 (Travers
 8   Decl., Ex. 10) (“Evaluation of Carcinogenic Potential Using Animal Models”)
 9           Monsanto’s motion should be denied in full, and the jury should be allowed to consider Dr.
10   Sawyer’s testimony before reaching its conclusions, as have juries in other Roundup® trials. See,
11   e.g., Johnson, 2018 WL 5246323 at *1 (noting that “this case required the jury to resolve the
12   complex scientific question of whether Plaintiff’s exposure to GBHs caused his NHL,” which it
13   did with the help of “Dr. Sawyer, a toxicologist, [who] testif[ied] about various aspects of the
14   science underlying GBHs.”).
15   II. Legal Standard.
16           Under Rule 702, reliable Expert opinion testimony has to “ ‘assist the trier of fact’ either
17   ‘to understand the evidence’ or ‘to determine a fact in issue’”; and “the witness has to be
18   sufficiently qualified to render the opinion” Primiano v. Cook (9th Cir. 2010) 598 F.3d 558,
19   563, as amended (Apr. 27, 2010). However, “Reliable expert testimony need only be relevant, and
20   need not establish every element that the plaintiff must prove, in order to be admissible.” Id.;
21   Pyramid Technologies, Inc. v. Hartford Cas. Ins. Co. (9th Cir. 2014) 752 F.3d 807, 816. Whitlock
22   v. Pepsi Americas (9th Cir. 2013) 527 Fed.Appx. 660, 661–662 (“Because Dr. [William] Sawyer's
23   opinion rests on a reliable foundation and is relevant to the task at hand it is admissible. Whether
24   it proves causation is not a question of admissibility.”). “The relevancy bar is low, demanding only
25   that the evidence ‘logically advances a material aspect of the proposing party's case.’” Messick v.
26   Novartis Pharmaceuticals Corp. (9th Cir. 2014) 747 F.3d 1193, 1196; In re Roundup Products
27   Liability Litigation (N.D. Cal. 2018) 390 F.Supp.3d 1102, 1152 (“...opinions may be bolstered by
28   Dr. Jameson's narrower opinions regarding glyphosate's ability to cause cancer in animals.”)


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 1   Under California law, one expert is not required to “expressly link together the evidence of
 2   substantial factor causation.” Hernandez v. Amcord, Inc. (2013) 215 Cal.App.4th 659, 675.
 3          It is entirely proper for an expert witness to rely on reports and opinions of other experts,
 4   particularly experts as qualified as Dr. Ritz, Dr. Weisenburger and Dr. Portier. In re Roundup
 5   Products Liability Litigation (N.D. Cal. 2019) 358 F.Supp.3d 956, 959 (...the important point is
 6   that these experts will not be repeating the analysis of the general causation experts, but rather
 7   relying on them to rule in glyphosate.”); Beck v. Koppers, Inc., (N.D. Miss. Feb. 2, 2006) No. 3:03
 8   CV 60 P D, 2006 WL 270260, at *10 (“[Dr. William] Sawyer's dosage and risk assessment
 9   testimony (as long as the latter is based on Dahlgren's general causation testimony) meets the
10   threshold requirements of Rule 702. It is undisputed that Sawyer is qualified by his knowledge and
11   education to render his dosage and risk assessment testimony.”); People v. Campos, (1995) 32 Cal.
12   App. 4th 304, 308, (“the expert witness may state the reasons for his or her opinion, and testify
13   that reports prepared by other experts were a basis for that opinion.”); Asad v. Cont'l Airlines, Inc.,
14   (N.D. Ohio 2004) 314 F. Supp. 2d 726, 741 (“an expert's testimony may be formulated by the use
15   of the facts, data and conclusions of other experts.”).; Pulse Med. Instruments, Inc. v. Drug
16   Impairment Detection Servs., LLC, (D. Md. 2012) 858 F. Supp. 2d 505, 512 (“Courts in this circuit
17   and across the country have consistently held that an expert may rely on the work of others when
18   preparing an expert report, particularly when it is the sort of work that is reasonably relied upon
19   by experts in the relevant area of expertise”)
20   III. Argument
21          A. Dr. Sawyer’s Opinions Are Reliable and Relevant.
22          Monsanto does not challenge Dr. Sawyer’s qualifications to talk about general exposure
23   issues, and does not contend that testimony about Roundup® exposure routes are irrelevant to this
24   case. See e.g. MTE Sawyer at 7 (“...Dr. Sawyer may be qualified to give an opinion about a
25   person’s level of exposure...”).     Indeed, Monsanto has designated its own experts to talk
26   exclusively about exposure routes, rates of exposure and the effects of equipment on exposure
27   without offering. See e.g. Cohen Expert Report (Travers Decl., Ex. 11). Monsanto only challenges
28   the reliability of his general exposure opinions regarding two studies and make no claim that the


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 1   vast majority of his opinions which are based on hundreds of published studies and internal
 2   Monsanto documents are unreliable.
 3          It is anticipated that Dr. Sawyer’s opinion will generally follow the testimony elicited at
 4   both the Johnson and Pilliod trials. Pilliod Tr. at 3104-3252 (Travers Decl., Ex. 3); Johnson Tr.
 5   at .3587-3679 (Travers Decl., Ex. 4). Dr. Sawyer’s testimony will bolster the testimony of the
 6   causation experts by explaining how Roundup® makes it from the bottle through the skin, into the
 7   body, and ultimately is distributed through the blood and into the bone where malignant
 8   lymphocytes form. Sawyer Aff. ¶¶ 30, 40 (Travers Decl., Ex. 1) (Explaining extent of his general
 9   causation opinion). See e.g., In re Roundup Products Liability Litigation (N.D. Cal. 2018) 390
10   F.Supp.3d 1102, 1152 (Drs. Ritz, Portier and Weisenburger’s “opinions may be bolstered by
11   Dr. Jameson's narrower opinions regarding glyphosate's ability to cause cancer in animals”). A
12   jury’s understanding of how certain factors increase or decrease exposure to Roundup is relevant
13   to their consideration of whether or not Roundup caused a plaintiffs cancer and whether Monsanto
14   was responsible for that increased exposure.        See e.g In re Roundup Products Liability
15   Litigation (N.D. Cal., Nov. 19, 2019) 2019 WL 6133745, at *1 (“...a state court might find that
16   3M Cattle's provision of a defective sprayer foreseeably caused Trosclair's cancer by increasing
17   the amount of Roundup he absorbed through his skin.”). It will be helpful for jurors to understand
18   how Roundup® is capable of penetrating the skin and circulating to lymphocyte cells in order for
19   them to decide whether Roundup can cause NHL.
20          It is not within a typical lay juror’s understanding how different spray equipment affects
21   the particle size of Roundup. Jurors may have a faulty assumption that professional users and
22   farmers, as a rule, get more intense exposure than home users. Dr. Sawyer, for example, will
23   explain how different equipment affects exposure:
24           The home use hydraulic sprayer is simply the fluid is pressurized and comes out a nozzle,
            and it presents a very wide distribution of particle size ranging from only as low as 50 or
25          100 micron on up to 1000 micron..., an aerosol that becomes airborne and the slightest
            amount of wind or moving the body allows that mist to make contact with the body, the
26          clothing, and the skin.
27
     Pilliod Tr. at 3150:17-3151:11 (Travers Decl., Ex. 3). In contrast there are other safer sprayer
28


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 1   designs used by some professionals called “a controlled droplet atomizer. Instead of pressuring the
 2   fluid through a nozzle, there's virtually no pressure, it's a mechanical spinning device and it releases
 3   primarily just a narrow band of droplets that are a little larger and they tend to settle out quicker.”
 4   Id. The wand length makes a difference in exposure because “the professional applicator generally
 5   has a long wand to hold it away from the body, where the home garden user doesn't have that
 6   ability, and when that's sprayed it's very close to the legs. And depending on the wind, it can
 7   actually affect beyond the body, beyond just the legs.” Id. at 3152:5-11.
 8          Farmers, who actually spray much more Roundup in terms of volume, do not necessarily
 9   have higher intensity of exposure than home users or landscapers. Id. 3228:10-3230:10; 3229:2-5
10   (“...the home applicator is getting an intense exposure for a short period, while the applicator in
11   the tractor requires more hours of application to get a near-equivalent exposure.”). These, perhaps
12   counterintuitive, results are confirmed in multiple studies including unpublished analyses by
13   Monsanto. Pilliod Tr. at 3140:15-16, 3233-3240; MONGLY01075506, Appendix 8-14 (Travers
14   Decl., Ex. 12) (Under the UK POEM methodology, utilized by Monsanto, professional users have
15   a range of doses from 0.066 to 0.67 mg/kg over 6 hours (0.011 - 0.11 mg/kg/hr) compared to a
16   dose of 0.12 mg/kg for residential users after 30 minutes (0.24 mg/kg/hr.)). In fact, among farmers,
17   the failure to wear rubber gloves has been shown to increase glyphosate absorption into the body
18   by 500%. Hernandez Rep. p. 18 (Travers Decl, Ex. 4). Despite this knowledge, Monsanto does
19   not warn landscapers or home users to wear gloves. The images below demonstrate how
20   applicators can reduce exposure by using a CDA sprayer and adequate protective gear5 or
21   alternatively they can increase their exposure by applying Roundup as advertised by Monsanto.6
22
23
24
25
26
     5  Picture of the Herbiflex4 “A hand-held CDA sprayer for the low volume application of
27   herbicides in narrow bands. The Herbiflex 4 applies large droplets to minimise any risk of spray
     drift or operator exposure” https://www.multispray.com/index.php/products/micron-ulv-sprayers
28   6
       Monsanto Roundup commercial https://www.youtube.com/watch?v=pnuzEbz4hXw


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 9          Additionally, Monsanto attorneys try to conflate a Plaintiffs’ awareness of exposure with
10   the Plaintiffs’ actual exposure. See e.g. Pilliod Tr. at 3277:10-22 (Travers Decl., Ex. 3). It is
11   helpful for Dr. Sawyer to correct this misleading argument by Monsanto:
12          Q. So less than one time per year, she got Roundup on her hands, right?
13          A. No, that's not true. Every time she used it, she received a -- an amount of Roundup on
            her hand, as per the peer-reviewed generally accepted studies that actually assessed
14          exposure by individuals wearing neoprene gloves with cotton gauze on their gloves and
            measuring on the average how many mills [milliliters] per hour impacted those
15          patches....But the insidious part is that users of Roundup accumulate aerosol droplets on
            their skin that they are not aware of.
16
     Pilliod Dep. at 126:19-127:22 (Travers Decl., Ex. 13).
17
            A lay juror may also assume that wearing long sleeve shirts and pants would prevent
18
     exposure to Roundup. It does not. Dr. Sawyer will testify and studies show that “an average of
19
     22.9% of the glyphosate deposited on worker clothing might be expected to penetrate through it.”
20
     Hernandez Report at 17 (Travers Decl. Ex. 4). Based, in part, on this clothing penetration data,
21
     Monsanto scientists had recommended internally that applicators wear waterproof clothing and
22
     rubber gloves and boots. Pilliod Tr. at 3237:14-3240:21 (Travers Decl., Ex. 3); Hernandez Report
23
     at 23-25 (Travers Decl., Ex. 4). Those recommendations were never implemented by Monsanto.
24
            While publicly advertising Roundup as safe to use with minimal clothing, internally
25
     Monsanto acknowledges that “Dermal exposure is the greatest risk of exposure for operators.” Id..
26
     at 105. Dr. Sawyer will explain why dermal exposure is the greatest risk of exposure for operators
27
     by explaining how Roundup is able to be absorbed into the body through the skin. Id. at. 57-60.
28


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 1   Dr. Sawyer explains “how a water-soluble chemical like glyphosate can make it through this
 2   keratin [protective] layer” and that “[o]nce you get past that protective layer, chemicals migrate
 3   through the lamellar granules and the keratinocytes very, very rapidly” Pilliod Tr. at 3135:3-
 4   3138:22 (Travers Decl., Ex. 3). Dr. Sawyer explains how repeated glyphosate exposure increases
 5   permeability as it does “damage in the formation of keratinocytes as they move upward and turn
 6   into keratin cells.” Id. Dr. Sawyer will explain how other ingredients in the Roundup formulation
 7   enhance penetration through the skin. Id. For example “[t]he propylene glycol and other related
 8   glycols used in the product tend to defat the keratin layer” removing the lipids that would normally
 9   repel hydrophilic chemicals like glyphosate. Id. Surfactants likewise strip the keratin layer of these
10   protective lipids; acts to spread glyphosate on the skin and increase adhesiveness to the skin
11   allowing more time for absorption over a larger area; and acts as a skin irritant which increases
12   absorption through increased capillary action near the skin surface. Id. at 3141:12-3146:13. Dr.
13   Sawyer will explain how Roundup forms a chemical reservoir in the dermis that is not easily
14   washed off and can continue to release glyphosate into the body over days. Id. at 3154:15-18;
15   3197:8-3198:22; 3214:8-19. Dr. Sawyer uses visual aids to explain each layer of skin and where
16   glyphosate proceeds once it penetrates the skin. Hernandez Rep. at 58-59 (Travers Decl., Ex. 4).
17          Dr. Sawyer’s opinions are confirmed by Monsanto’s own internal and confidential memos
18   which explain that:
19           Surfactants are able to increase glyphosate absorption through the skin by:
20          (1) removal of lipids (sebum) from the epidermal surface due to surfactant action; (2)
            increase of the hydration state of the skin (under closed exposure conditions); (3) increase
21          of skin contact (spreading of water droplets by surfactant action); (4) increase--- of contact
            time with the skin due to decrease of evaporation of water from the droplets containing
22          surfactant (surfactant monolayer at surface of droplets slows down passage to vapor phase;
            (5) increase of sub epidermal blood flow due to irritant action of surfactant; ....
23
     MONGLY01839476 (Travers Decl., Ex. 14). Monsanto commissioned a study, which they never
24
     submitted to EPA, that “confirm[ed] our expectation that surfactant concentration affects the
25
     dermal absorption.” Hernandez Rep. at 118; Pilliod Tr. at 3214:8-19 (internal Monsanto email
26
     acknowledging that “... as we know now, 5 to 20 percent of the dose of glyphosate could be stored
27
     in the skin."). Furthermore, studies have shown that surfactants also “ ‘greatly facilitated” the
28


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 1   penetration of glyphosate through animal cell membranes.” Hernandez Rep. at 109.
 2            Once glyphosate penetrates the skin it can enter both the blood system and lymphatic
 3   system. Hernandez Rep. at 60 (Travers Decl., Ex. 4); Pilliod Tr. at 3145:8-15; 3147:22-3148:8
 4   (Travers Decl., Ex. 3). Glyphosate preferentially travels to the bone and remains in the bone longer
 5   than any other organ. Hernandez Rep. at 98; Pilliod Tr. at 3180:2-3184:2. In an in vivo study
 6   published after the Pilliod trial, Dr. Sawyer notes that “glyphosate was found to increase the
 7   production of AICD in the spleen and bone marrow” of mice explaining that “AICD77 is known
 8   as a key pathogenic player in both MM and B-cell NHL.” Hernandez Rep. at 37. Dr. Sawyer will
 9   explain that once Roundup is in the human body it damages cellular DNA (including lymphocytes
10   and in bone marrow) as shown in in vivo and in vitro studies in both humans and animals; and has
11   been demonstrated. Id. at 37-48. Dr. Sawyer will also testify that glyphosate formulations are
12   more genotoxic than glyphosate itself. Id. at 41; Pilliod Tr. at 3166-3178.
13            None of the aforementioned exposure opinions by Dr. Sawyer are challenged as unreliable
14   or inadmissible by Monsanto and represent the majority of his testimony that will be offered at
15   trial.   This testimony appropriately bolsters the general causation opinions of Drs. Portier,
16   Weisenburg, Ritz and the case-specific causation opinions of the oncologists.
17   B. Dr. Sawyer Opinions regarding the Plaintiffs’ Exposure to Roundup are Reliable and
     Admissible.
18
              Dr. Sawyer “will not be repeating the analysis of the general causation experts” at trial. In
19
     re Roundup Products Liability Litigation (N.D. Cal. 2019) 358 F.Supp.3d 956, 959. However,
20
     relying upon the detailed assessment of the epidemiology by Drs. Ritz, Portier and Weisenburger,
21
     Dr. Sawyer is qualified to and will testify that the Roundup exposure of the Plaintiffs is sufficient
22
     to cause NHL7 consistent with the epidemiological literature. In Pilliod, Judge Smith held that
23
     “Sawyer may provide testimony on specific causation, including rates of absorption, the effects of
24
     protective gear, and the estimated doses received by the Pilliods. ... Sawyer may testify even if he
25
     does not analyze other potential causes of NHL.” Pilliod v. Monsanto Co., 2019 WL 2158266, at
26
27   7
       Dr. Sawyer is also qualified to discuss latency. He does more than simply list studies and his opinion was
28   thoroughly explored in the Johnson trial. Johnson Tr. at 3675-3678 (Travers Decl. Ex. 2) (“Yeah. I have -- for many
     years, have searched the literature and have kept track of latencies for different cancers.”); Id. at 3764-3781


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 1   *4 (Cal.Super.)
 2          Defendants’ conflate the issues of admissibility of evidence with the Plaintiffs’ burden of
 3   proof. Expert opinions are admissible even if it goes to only one aspect of the evidence that the
 4   jury must consider in coming to a verdict. In Hernandez v. Amcord, Inc., a trial court excluded
 5   an expert who testified that a Plaintiffs’ exposure to asbestos was sufficient to cause his case
 6   without making the ultimate conclusion that it was a legal cause of his cancer, where another
 7   medical expert did provide that opinion. 215 Cal. App. 4th 659, 674 (2013). The Appeals Court
 8   reversed holding that there is no requirement “that a medical doctor must expressly link together
 9   the evidence of substantial factor causation.” Id.
10          Dr. Sawyer’s same type of testimony was deemed admissible in Johnson, Pilliod and
11   deemed admissible by the Ninth Circuit. In Whitlock, the Court held:
12           [T]he district court exceeded its gatekeeping function in excluding Dr. Sawyer's testimony
            that the alleged TCE and chromium exposure levels were “within [a] reasonable range of
13          that known [from several studies] to induce” the alleged injuries. Plaintiffs' alleged
            exposures were not so low that the occupational studies were irrelevant. Because Dr.
14          Sawyer's opinion “rests on a reliable foundation and is relevant to the task at hand,.., it is
            admissible. Whether it proves causation is not a question of admissibility
15
     527 F. App'x at 661.
16
            Likewise, here, Dr. Sawyer’s opinion that Roundup® exposure is sufficient to cause
17
     Plaintiffs’ cancer may not satisfy Plaintiffs’ burden of proof (in the absence of a full differential
18
     etiology), but it is admissible and helpful testimony, particularly where there are other experts have
19
     reviewed the Pilliods’ medical records.
20
            It is appropriate for Dr. Sawyer to rely upon the detailed assessment of epidemiology by
21
     Drs. Ritz, Portier and Weisenburger particularly where he has his own experience in biostatics and
22
     epidemiology. As Dr. Sawyer notes:
23
            ....I have training in biostatistics and epidemiology. In fact, for many years I taught a minor
24          section of medical epidemiology when I served as an adjunct assistant professor in the
            Department of Medicine (and the Department of Preventive Medicine) at the State
25          University of New York Upstate Medical University in Syracuse, NY (1988 – 2012). I
            served under the prior chairman Dr. Richard P. Oates teaching a section of medical
26          epidemiology using US CDC disease causation methodologies (for example excessive
            caffeine and hip fracture causation as an example). I also taught a section of the 4th year
27          clerkship course toxicology lectures.
28   Sawyer Aff. at ¶20 (Travers Decl., Ex. 1); Johnson Sawyer Dep. at 359:19-360:6 (Travers Decl.


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 1   at Ex. 15) ( detail analysis “best handled by the epidemiology experts that we have. I am not an
 2   epidemiologist. I've taught a section of the course in medical school. I've been trained in
 3   epidemiology. I use it every day in my practice....”). In Pilliod, Sawyer was permitted to “rely on
 4   epidemiology studies even if he is not an epidemiologist.” 2019 WL 2158266, at *4.
 5          Although Sawyer is not conducting a full differential etiology in the Wave 1 cases, he is
 6   qualified to testify as to whether other potential chemical exposures may have contributed to the
 7   Plaintiffs’ NHL where he has conducted that analysis.          Dr. Sawyer is a very experienced
 8   toxicologists and has testified extensively in toxic exposure cases. See e.g. Stevick Dep. 106:7-
 9   108:21 (Travers Decl., Ex. 16) (“... these are chemicals I'm familiar with. I've testified on a WD-
10   40 case. I know the ingredients in it. I know the ingredients in GUNK... I identified nothing that
11   contained any significant concentration of benzene that could raise the air level to even a
12   measurable level...”); Sawyer Aff. at ¶¶ 33-37 (Travers Decl., Ex. 1) (identifying carcinogenicity
13   of other potential exposures of Mr. Giglio); Giglio Rep. at 38 (Def. Ex. 1). This testimony will
14   assist the jury where Monsanto tries to shift blame to other products for the Plaintiffs’ NHL.
15          In arguing that Dr. Sawyer cannot testify about the Plaintiffs’ exposure days, Defendants
16   conflate the concept of “a factual basis” with the concept of an “expert opinion”. The number of
17   days and hours that the Pilliods was exposed to GBHs does not constitute an opinion, but rather
18   constitutes a factual basis to support Dr. Sawyer’s opinions. Although the jury can count up the
19   days and hours the Pilliods used GBHs, it is still incumbent upon Dr. Sawyer to relate this factual
20   basis to the jury and explain how it supports his opinions. Owens v. Republic of Sudan, (D.C. Cir.
21   2017) 864 F.3d 751, 790 (“For their conclusions to be admissible and credible, the plaintiffs'
22   experts needed to disclose the factual basis for their opinions.”).
23          The epidemiological studies are not consistent nor well-described in their methodology
24   when using days of exposure and expert testimony will be helpful to explain how to compare the
25   Plaintiffs’ exposure to the epidemiological studies. Having Dr. Sawyer guide the jury through the
26   nuances inherent in the different epidemiology studies will only aid the jury in understanding each
27   study’s characteristics. The following line of questioning reveals that certain studies may not be
28   what they appear at first glance:


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 1
            Q. And when we're comparing apples to apples, we need to compare the exposure dates of
 2          the Pilliods to the exposure days in epidemiology studies, correct?
            A. Yes.
 3          Q. But it is true that the Eriksson study does not give us any information on the actual
 4          amount applied by the individuals who were studied in the Eriksson study, right?
            A. That's right.
 5          Q. Okay. And so a farmer, for instance, could apply glyphosate once a month, but he could
            apply dozens of gallons of Roundup in one full-day application over a field, right?
 6          A. Right.
 7          Q. And those applicators, this hypothetical farmer I mentioned, would have applied for a
            matter of hours continuously as opposed to spot spraying for a single hour, right?
 8          A. That's right.
            Q. And they would be -- potentially be exposed to a much greater volume of Roundup than
 9          the plaintiffs in this matter, right?
10          A. No. Actually, that's not true, and I can pull out the studies right now and show you. The
            tractor-mounted sprayer, farmers putting down 150 gallons covering 500 acres or whatever,
11          their daily dose is not much different than that of a backpack sprayer.
12   Pilliod Dep. at 238 (Travers Decl., Ex. 13). In fact, Dr. Sawyer explained that “[y]ou could actually

13   have a professional applicator working seven hours -- and I could show the tables -- with lower

14   exposure than that of a --that is, if that person is wearing PPE -- a lower exposure than a home

15   gardener working for one hour.” Id. at 242. At trial Dr. Sawyer will explain how the studies

16   generally apply exposure days; and as illustrated at Dr. Sawyer’s last deposition (for a different

17   plaintiff) he explained how the epidemiology assesses exposure days. Id.

18          Monsanto criticizes Dr. Sawyer for not calculating a numerical dose of glyphosate

19   exposure for most Plaintiffs in terms of mg/kg of glyphosate circulating in the body. However, a

20   dose calculation is not really helpful because there is no threshold dose identified in human studies

21   where Roundup is shown to cause cancer. Stevick Dep. at 231:7-233:10 (Travers Decl., Ex. 16)

22   (Explaining that calculating exposure days is more reliable because “[t]here's no -- no such dose

23   calculations performed in the human studies in a -- in a milligram per kilogram body weight per

24   day on -- on a day of exposure”. Furthermore, it is well-recognized that “While ‘precise

25   information concerning the exposure necessary to cause specific harm [is] beneficial, such

26   evidence is not always available, or necessary, to demonstrate that a substance is toxic ... and need

27   not invariably provide the basis for an expert's opinion on causation.’” Clausen v. M/V NEW

28   CARISSA, 339 F.3d 1049, 1060 (9th Cir. 2003), as amended on denial of reh'g (Sept. 25, 2003)



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 1   (quoting Westberry v. Gislaved Gummi AB, (4th Cir. 1999)178 F.3d 257, 264; Wright v. Willamette
 2   Indus., Inc., (8th Cir. 1996) 91 F.3d 1105, 1107 (“We do not require a mathematically precise
 3   table equating levels of exposure with levels of harm, but there must be evidence from which a
 4   reasonable person could conclude that a defendant's emission has probably caused a particular
 5   plaintiff the kind of harm of which he or she complains...”); Heller v. Shaw Indus., Inc., 167 F.3d
 6   146, 157 (3d Cir. 1999) (“...even absent hard evidence of the level of exposure to the chemical in
 7   question, a medical expert could offer an opinion that the chemical caused plaintiff's illness.”).
 8         While Dr. Sawyer has calculated doses in mg/kg for previous cases, those doses were not
 9   presented to the jury. The parties even stipulated that such dose calculations were unnecessary in
10   the Johnson trial agreeing to the following:
11         1. Dr. Sawyer will not reference the California No Significant Risk Level or utilize the cancer
              slope factor in support of his opinions;
12         2. Neither party will reference argue, or offer testimony about reference doses derived from
              or used by domestic or foreign regulatory agencies;
13         3. Neither party will reference, argue or offer testimony that Mr. Johnson’s dose/exposure is
              below or above any threshold reference dose derived from animal studies or regulatory
14            agencies;
           4. Plaintiff may question Dr. Sawyer regarding the meaning of the U.S. EPA’s reference dose
15            of 2 mg/kg/day as referenced in Dr. Farmer’s testimony to explain it addresses toxicity and
              not carcinogenicity
16
     Travers Decl. Ex. 17. The only use for calculating mg/kg doses is to conduct comparative analyses
17
     of how various protective gear, equipment, and spraying methods affect the dose.
18
     C. DR. SAWYER MAY PROPERLY RELY UPON THE UK POEM MODEL
19
               The UK Predictive Operator Exposure Model (UK POEM) is standard, well-recognized
20
     and validated model for assessing Roundup exposure and is utilized in many of the internal
21
     Monsanto documents and peer-reviewed published literature relied upon by Dr. Sawyer.8
22
     Defendant fails to present any evidence that this model does not yield reliable data. Nw. Coal. for
23
     Alternatives to Pesticides (NCAP) v. U.S. E.P.A., (9th Cir. 2008) 544 F.3d 1043, 1048–49
24
     (Rejecting argument that pesticide exposure modeling is unreliable where “Petitioners have
25
     presented no evidence that modeling does not yield reliable data. There is nothing inherently
26
     unreliable about the use of models...”). In, a 2015 published article written by Monsanto employee
27
28   8
         Dr. Sawyer has calculated a mg/kg dose for only Russo in the Wave I cases.


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 1   David Saltmiras utilizes the UK POEM methodology explaining the systematic dose of applicators
 2   ca “is predicted to be between 0.0034 (German BBA model, tractor-mounted ground-boom
 3   sprayer) and 0.226 mg/kg bw/day (UK POEM, hand-held-spraying to low targets, data not
 4   shown).”9 Defendants cite no evidence that the UK POEM is unreliable or not validated. In fact,
 5   the UK POEM is a well-accepted methodology. Dr. Sawyer did not agree that the UK POEM was
 6   not validated in the testimony cited by Monsanto. Rather, he testified that it was validated using
 7   “a surrogate chemical in performing the validation studies that behaves as an aerosol similar to
 8   that of glyphosate.” Wade Depo. at 137:18-20 (Travers Decl., Ex. 7).
 9            The UK POEM was developed by the United Kingdom regulatory body. Sawyer Stevick
10   Aff. at ¶ 65 (Travers Decl., Ex. 18). It is recognized by the European Food Safety Authority
11   (EFSA) as an available and reliable exposure modeling technique. Id. at 85. The latest regulatory
12   body to review the UK POEM model notes that it “is an internationally developed model based on
13   a robust dataset.” Id. at 67. Dr. Sawyer notes that the UK POEM has been peer-reviewed and
14   relied upon in “numerous studies” including “a 2017 risk assessment of small farmers exposed to
15   plant protection products in the Niger River valley” and a “2017 assessment of farmers' exposure
16   to pesticides in the urban and peri-urban areas of Northern Benin.” Id. at 65-66. In fact the UK
17   POEM has actually been found to under estimate exposure. (Abukari, Pesticides Applicator
18   Exposure Assessment: A Comparison between Modeling and Actual Measurement. Journal of
19   Environment and Earth Science, Vol.5, No.11, 2015.). Recently it has been utilized to study
20   glyphosate exposure in farmers in Ghana where “[m]odeled farmer exposure to glyphosate was
21   noted to be 0.3 mg/kg/BW/day on average (0.7 mg/kgBW/day 95th percentile) when full personal
22   protective equipment (PPE) was used and an average of 4.2 (8.1 – 95th percentile) mg/kgBW/day
23   when PPE was not used.” Hernandez Rep. at 18-19 (Travers Decl., Ex. 4).
24   D.       Dr. Sawyer May Rely on the George and Prasad Studies
25            Monsanto additionally argues that Dr. Sawyer should be precluded from testifying about the
26   George tumor promotion study. See George, J., et al., “Studies on glyphosate-induced carcinogenicity
27   9
       Greim, et al., “Evaluation of carcinogenic potential of the herbicide glyphosate, drawing on tumor incidence data
28   from fourteen chronic/carcinogenicity rodent studies” Crit Rev Toxicol. 2015 Mar 16; 45(3): 185–208.
     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4819582/


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 1   in mouse skin: A proteomic approach,” 2010, Journal of Proteomics, Vol. 73, pg. 951 - 964. Monsanto
 2   made identical arguments in Johnson when seeking to overturn the jury’s verdict and secure a new
 3   trial, to no avail. See Johnson v. Monsanto, Memorandum of Points and Authorities in Support of
 4   Defendant Monsanto Company's Motion for New Trial, 2018 WL 4904750, at *15 (Cal.Super.,
 5   Sept. 18, 2018); 2018 WL 4904751, at *7 (Cal.Super., Sept. 18, 2018) (both citing the plaintiff’s
 6   reliance on the George study as a basis for disturbing the jury’s finding, which the court ultimately
 7   rejected when upholding the verdict).
 8           Dr. Sawyer’s report explains the relevance of the George study in detail, specifically:
 9           In the carcinogenicity study, George, J., et al., (2010), glyphosate was demonstrated
             to have strong tumor-promoting activity. The study documented carcinogenic
10           effects of glyphosate using a 2-stage mouse skin carcinogenesis model and
             proteomic analysis. The commercial formulation of Roundup Original (glyphosate
11           41%, POEA = 5%, Monsanto Company, St. Louis, MO, USA) was topically
             applied to the skin of mice with a body weight of 12-15 g. The glyphosate dose was
12           25 mg/kg body weight and was applied either two or three times per week . . . .
13           The study demonstrated, to within 95% certainty, the carcinogenic potential of
             glyphosate as a powerful promoter in a 2-stage promotion model. The authors
14           concluded in their results section that “These results clearly indicate significant
             tumor promoting potential of glyphosate in mouse skin model of carcinogenesis.”
15
     Hernandez Rep. at 34-36 (Travers Decl., Ex. 4). Dr. Sawyer goes on to apply an allometric scaling
16
     method to convert the dose from the animals studies in George to humans. Id., which establishes that
17
     “the relatively low dermal exposure doses in mice[,] when converted to human doses, are reasonably
18
     similar to that sustained by applicators (when applying the HED factor and dermal absorption rate of
19
     3%),” such as the Plaintiffs. Id. at 36.
20
             Dr. Portier also relies upon the George study and explained why IARC would not generally
21
     consider an initiator promotor study in the animal carcinogenicity section. Johnson Tr. at 1858:22-
22
     1865:9 (Travers Decl. Ex. 2) (“they typically don't use initiation promotion studies, especially if they
23
     have good two-year cancer studies because a two-year cancer study is more definitive.”) Dr. Portier
24
     further discussed where he disagreed with IARC’s analysis of the study and confirmed that IARC did
25
     consider George to show that Roundup can act as a tumor promotor. Id. at 1865:13-16. Dr. Sawyer
26
     also explained that this was not a study that would be used by IARC in the animal carcinogenicity
27
     section because it looks at tumor promotion not initiation. Pilliod Tr. at 3285:9-21 (Travers Decl. Ex.
28


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 1   3); Russo Dep. 49:13-19 (Def. Ex. 23). IARC specifically points out in its summary of the glyphosate
 2   evaluation that “A glyphosate formulation promoted skin tumours in an initiation-promotion study in
 3   mice.” Travers. Decl., Ex. 19. The ATSDR likewise concluded that the George study “indicate[s] that
 4   the glyphosate formulation functioned as a tumor promoter, but not a tumor initiator or complete
 5   carcinogen.” Travers, Decl., Ex. 20. The CLH analysis (like the EPA) cited by Monsanto evaluated
 6   only pure glyphosate and thus could not consider the George study because it “was performed with a
 7   commercial product that most likely contains irritating co-formulants.” (Def. Ex. 25, p. 66). Dr.
 8   Sawyer disagrees that there was inadequate control groups treated with solvent. Sawyer Aff. at ¶¶ 51-
 9   61 (Travers Decl., Ex. 1). (explaining that five groups which included solvent showed no tumors).
10   Furthermore, the solvent in George is used commonly in toxicology studies and is not a tumor
11   promoter. Id. at ¶ 51. Dr. Portier concurs stating “I think their controls were adequate in the study.”
12   Johnson Tr. at 1864:11-13 (Travers Decl., Ex. 2).
13          Dr. Sawyer did self-correct a calculation he made on the Prasad study which looked at
14   chromosomal aberrations and micronuclei in bone marrow cells of Swiss albino mice. However,
15   “Daubert does not require that an expert's testimony be excluded simply because he admitted and
16   corrected his own mistakes .... There is no stigma attached to such error correction, nor should
17   there be. If anything, it strengthens the quality of the expert report.” Crowley v. Chait, 322 F.
18   Supp. 2d 530, 540 (D.N.J. 2004); In re Roundup Products, 390 F.Supp.3d at 1146 (“Reliable
19   experts sometimes make mistakes.”) United States v. Tarwater, 308 F.3d 494, 505 (6th Cir. 2002);
20   Davis v. United States, No. CV 07-00461 ACK-LEK, 2009 WL 10702627, at *5 (D. Haw. Apr.
21   24, 2009); Baldwin v. Bader, 539 F. Supp. 2d 443, 445 (D. Me. 2008); Computer Assocs. Int'l v.
22   Quest Software, Inc., 333 F.Supp.2d 688, 694–95 (N.D.Ill.2004). Considering the numerous
23   depositions, reports and hundreds of hours of reviewing material, it is not unreasonable for some
24   mistakes to occur.     However, the corrected calculations do not alter Dr. Sawyer’s overall
25   conclusion that the dose of glyphosate used in Prasad is within a reasonable range encountered by
26   human applicators. Sawyer Aff. at ¶ 41. While the Prasad opinion was a supplemental opinion,
27   Dr. Sawyer has undergone five days of deposition since disclosing that opinion, so Monsanto can
28   claim no prejudice.


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 1   E. Dr. Sawyer’s Testimony Regarding Other Carcinogens in Roundup is Admissible.
 2             Monsanto asks the court to preclude Dr. Sawyer from testifying that Roundup® contained
 3   “trace” chemicals that may have contributed to Plaintiffs’ NHL. Monsanto’s request is unavailing.
 4   Dr. Sawyer’s consideration of Roundup® and other GBHs’ entire chemical makeup is not only
 5   appropriate, but necessary in evaluating whether Plaintiffs were exposed to known or suspected
 6   carcinogens. Such an analysis may also explain the greater carcinogenicity shown in studies of the
 7   completed Roundup product than in studies of glyphosate alone. See, e.g., Hernandez Rep. at 113.
 8   Travers Decl. at Ex. 4. To that end, Dr. Sawyer lists and describes the chemicals known to be present
 9   in Roundup® in various years of use, id. at 32-34, including several known carcinogens:
10   formaldehyde, ethylene oxide, and n-nitroso. Id.. Dr. Sawyer will testify that while these
11   carcinogens may not be sufficient alone to cause cancer, “the rule is in toxicology and even under
12   EPA policy, that regardless of the concentration of the carcinogen, they are all additive in terms of
13   their effect.” Pilliod Tr. at 3133:3-11.
14             “[G]enerally recognized carcinogens with similar target endpoints (hematopoietic cancers)
15   are, by definition, additive and should be considered in the overall carcinogen assessment of a
16   product.” Hernandez Rep. at 33-34. The presence of known carcinogens in Roundup® – despite
17   Monsanto’s failure to list these substances in its labeling, id. – “requires toxicological consideration.”
18   Id. (emphasis added). Dr. Sawyer’s consideration of trace chemicals follows the EPA’s “well-defined
19   guidance on the manner in which additive effects are required to be assessed,” id. , which, far from
20   being a “novel” theory, falls well within “established [] carcinogenic assessment methodology.” Id.
21   His analysis is thus relevant, reliable, and will assist the jury in evaluating causation.
22             Dr. Sawyer obviously did not tell the jury in Pilliod “that trace ingredients in Roundup could
23   kill a person upon opening the Roundup bottle.” However, ethylene oxide is a serious and dangerous
24   impurity in the Roundup surfactants. IARC labels it a class 1 carcinogen10 capable of causing NHL.
25   Sawyer Aff. at ¶¶ 67-69. As noted by Dr. Sawyer:
26             Ethylene Oxide is a carcinogenic and mutagenic gas. It is classified by both U.S. EPA
               and by IARC as a human carcinogen by inhalation. Studies show that exposures to
27             ethylene oxide are associated with an increased risk of cancers of white blood cells.
28   10
          https://monographs.iarc.fr/wp-content/uploads/2018/06/mono100F-28.pdf.


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            Ethylene oxide was identified by Monsanto as being present in Roundup as long ago
 1          as 2000 (per Safety Data Sheet) noting that ethylene oxide accumulates in the top
            (“headspace”) of product containers and can be inhaled when the lid is removed.
 2
     Hernandez Rep. at 33-34. Although it is a recognized impurity in the surfactant, Monsanto does not
 3
     collect data on the ethylene oxide levels in Roundup and therefore, the actual levels in Roundup are
 4
     unknown. Sawyer Aff. at ¶ 68. Likewise formaldehyde is another class 1 carcinogen present in
 5
     Roundup. Sawyer Aff. at ¶¶ 64-66. Formaldehyde has been measured in Roundup to exceed safe
 6
     levels and is includes in Safety Data Sheet warnings for certain glyphosate manufacturing workers.
 7
     Id.; Pilliod Tr. at 3129:14-16 (“...it is found in, for example, in the Monsanto centrifuge feed
 8
     production at 1.3 percent, which is 13,000 ppm which is extraordinarily high.”); Sawyer Aff. at ¶ 65.
 9
10   F. Dr. Sawyer May Rely on and Explain Technical Details Contained in Internal Monsanto
     Documents
11          Plaintiff agrees that Dr. Sawyer will not testify about the intent or state of mind of
12   Monsanto, but Dr. Sawyer will rely upon and discuss the scientific findings, opinions and data
13   contained in internal Monsanto documents. Experts may rely and discuss corporate documents if
14   the documents are relevant to their opinions. In re Seroquel Prod. Liab. Litig., (M.D. Fla. July 20,
15   2009)No. 6:06-MD-1769-ORL-22D, 2009 WL 3806436, at *4 (“The Court determines that
16   [experts] may appropriately rely on and discuss AstraZeneca's internal corporate documents for
17   the specific purposes identified by Plaintiffs in their response to the motion.”). Also, there is
18   “nothing particularly unusual, or incorrect, in a procedure of letting a witness relate pertinent
19   information in a narrative form as long as it stays within the bounds of pertinency and materiality.”
20   In re Yasmin & YAZ (Drospirenone) Mktg., Sales Practices & Prod. Liab. Litig., (S.D. Ill. Dec.
21   16, 2011) 2011 WL 6302287, at *18 (internal citations omitted) (rejecting argument that regulatory
22   experts review of corporate emails “does not require the “specialized knowledge” contemplated
23   by Rule 702, but rather is mere advocacy on plaintiff's behalf.”). Unfortunately, Monsanto has a
24   corporate policy not to publish or publicize unfavorable data or scientific opinions on glyphosate.
25   Therefore, much of the scientific data and opinions of Monsanto scientists and consultants are
26   contained only in internal Monsanto documents and emails.
27          It is also entirely proper to apply one’s expertise in a field to provide proper context to
28   corporate emails and memoranda. DePaepe v. General Motors Corp., (7th Cir.1998) 141 F.3d


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 1   715, 720 (“He could give an opinion as an engineer that reducing the padding saved a particular
 2   amount of money; he might testify as an engineer that GM's explanation for the decision was not
 3   sound (from which the jury might infer that money was the real reason); but he could not testify
 4   as an expert that GM had a particular motive.”).See, e.g., United Food & v. Teikoku Pharma USA,
 5   (N.D. Cal. Nov. 3, 2017) 2017 WL 5068533, at *25 (expert could opine as to what a reasonable
 6   company in the defendant’s position would have done based on his understanding of the facts and
 7   in light of the record evidence he reviewed).
 8             The emails cited by Dr. Sawyer are filled with technical knowledge that would not be easily
 9   comprehended by a lay juror. For example the following email would not be easily understood
10   without an understanding of the terms: uncertainty factors, risk assessment, biomonitoring,
11   pharmacokinetics, IV experiment, and topical in vivo:
12             Even though we can absorb additional 'uncertainty factors' in our risk assessment
               based on our biomonitoring results, I feel uncomfortable with this discussion. This
13             approach by Spain sets a precedent and contradicts the fact that we always claimed
               to fully understand the glyphosate pharmacokinetics. The Wester IV experiment
14             suggests that almost the entire 'systemically' available dose was excreted in urine.
               The low dose topical in vivo experiment suggests that almost the entire dose (82%)
15             that was absorbed through the skin was excreted in feces ...
16   Hernandez Rep. at 104 (Travers Decl., Ex. 4; See e.g. Pilliod Tr. at 3212-3220 (Travers Decl. Ex.
17   3) (explaining technical terms in admitted exhibits).
18             Furthermore, Dr. Sawyer will not be offering regulatory opinions or opine about labeling
19   requirements. However, he can testify how the instructions on the label for protective gear increase
20   or decrease exposure. Pilliod Tr. at 3093-3104. As noted by Judge Smith, Dr. Sawyer’s reference
21   to the Roundup label was relevant and admissible because “to the extent that the label is an issue,
22   it's that it did not tell them to wear protective gear and they didn't wear protective gear...And
23   therefore they were exposed to the Roundup when they were spraying and they absorbed here,
24   there, and other...” Id. at 3093-3094. Monsanto regularly questions Dr. Sawyer about the label as
25   it relates to Plaintiffs’ Exposure. Giglio Dep. at 106-111. (Travers Decl. at Ex. 9).
26   IV. CONCLUSION
27             For the aforementioned reason, Monsanto’s Motion to Exclude Dr. Sawyer should be
28   denied.


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        PLAINTIFFS’RESPONSE TO MOTION TO EXCLUDE TESTIMONY OF DR. SAWYER
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 1   Dated: December 10, 2019

 2                                           Respectfully submitted,
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15                                           Co-Lead Counsel for Plaintiffs
16                                           in MDL No. 2741

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       PLAINTIFFS’RESPONSE TO MOTION TO EXCLUDE TESTIMONY OF DR. SAWYER
                                            21
           Case 3:16-md-02741-VC Document 8342 Filed 12/10/19 Page 23 of 23



 1                                  CERTIFICATE OF SERVICE

 2                    I HEREBY CERTIFY that on this 10th day of December, 2019, a copy of the
     foregoing was filed with the Clerk of the Court through the CM/ECF system which sent notice of
 3   the filing to all appearing parties of record.
 4
                                                       /s/ Jeffrey Travers
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        PLAINTIFFS’RESPONSE TO MOTION TO EXCLUDE TESTIMONY OF DR. SAWYER
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